     Case 2:20-cr-00326-JFW Document 158-1 Filed 01/26/21 Page 1 of 3 Page ID #:1484



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12    UNITED STATES OF AMERICA

13                             UNITED STATES DISTRICT COURT

14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

15    UNITED STATES OF AMERICA,                No. 2:20-CR-326(A)-JFW-1,2,4,5,6

16               Plaintiff,                    [PROPOSED] ORDER VACATING TRIAL
                                               DATES AND FINDINGS REGARDING
17                     v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                               TO SPEEDY TRIAL ACT
18    JOSE LUIS HUIZAR, et. al,
                                               [PROPOSED] STATUS CONFERENCE:
19               Defendants.                              04/05/2021 at 8:00 a.m.

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23          The Court has read and considered the Stipulation Regarding
24    Request for (1) Vacating Trial and Related Dates and (2) Findings of
25    Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
26    parties in this matter, as well as the Central District of
27    California’s General Orders and Orders of the Chief Judge regarding
28    the Coronavirus Public Emergency (collectively, “Coronavirus
     Case 2:20-cr-00326-JFW Document 158-1 Filed 01/26/21 Page 2 of 3 Page ID #:1485



 1    Orders”).    The Court hereby finds that the Stipulation and

 2    Coronavirus Orders, which this Court incorporates by reference into

 3    this Order, demonstrate facts that support a continuance of the trial

 4    date in this matter, and provides good cause for a finding of

 5    excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 6          The Court further finds that: (i) the ends of justice served by

 7    the continuance outweigh the best interest of the public and

 8    defendant in a speedy trial; (ii) failure to grant the continuance

 9    would be likely to make a continuation of the proceeding impossible,

10    or result in a miscarriage of justice; (iii) the case is so unusual

11    and so complex, due to the nature of the prosecution, that it is

12    unreasonable to expect preparation for pre-trial proceedings or for

13    the trial itself within the time limits established by the Speedy

14    Trial Act; and (iv) failure to grant the continuance would

15    unreasonably deny defendants continuity of counsel and would deny

16    defense counsel the reasonable time necessary for effective

17    preparation, taking into account the exercise of due diligence.

18          THEREFORE, FOR GOOD CAUSE SHOWN:

19          1.    The trial date of June 22, 2021 and the previously set pre-

20    trial deadlines and hearings in this matter are vacated.            A status

21    conference hearing is set for April 5, 2021 at 8:00 a.m.

22          2.    The time period of December 1, 2020 to June 22, 2021,

23    inclusive, as to defendant RAYMOND CHAN, December 14, 2020 to June

24    22, 2021, inclusive, as to defendant SHEN ZHEN NEW WORLD I, LLC, and

25    December 7, 2020 to June 22, 2021, inclusive, as to defendants DAE

26    YONG LEE and 940 HILL, LLC, and is excluded in computing the time

27    within which the trial must commence, pursuant to 18 U.S.C.

28    §§ 3161(h)(7)(A), (h)(7)(B)(i), (h)(7)(B)(ii) and (B)(iv).

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     Case 2:20-cr-00326-JFW Document 158-1 Filed 01/26/21 Page 3 of 3 Page ID #:1486



 1          3.    Nothing in this Order shall preclude a finding that other

 2    provisions of the Speedy Trial Act dictate that additional time

 3    periods are excluded from the period within which trial must

 4    commence.    Moreover, the same provisions and/or other provisions of

 5    the Speedy Trial Act may in the future authorize the exclusion of

 6    additional time periods from the period within which trial must

 7    commence.

 8          IT IS SO ORDERED.

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        DATE                                    HONORABLE JOHN F. WALTER
11                                              UNITED STATES DISTRICT JUDGE
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      Presented by:
15
           /s/
16     MACK E. JENKINS
       Assistant United States Attorney
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